               Case 2:20-cv-00738-TSZ Document 18 Filed 06/08/20 Page 1 of 4



 1                                                                      The Honorable Thomas S. Zilly
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12                              UNITED STATES DISTRICT COURT
13                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   NINTENDO OF AMERICA INC.,
16                                                          NO. 2:20-cv-00738-TSZ
17                         Plaintiff,
18                                                          PLAINTIFF’S CERTIFICATE OF
19            v.                                            SERVICE
20
21   DOES 1-20, d/b/a, ANXCHIP.COM,
22   AXIOGAME.COM, FLASHCARDA.COM,
23   MOD3DSCARDS.COM, NX-CARD.COM,
24   SXFLASHCARD.COM, TXSWITCH.COM,
25   and USACHIPSS.COM,
26
27                         Defendants.
28
29
30
31           I hereby certify that on June 8, 2020, I delivered the following documents by email to
32
33   Defendants in the above-captioned matter:
34
35           1. Plaintiff’s Motion for Leave to Serve Process by Alternative Means, accompanying
36
37                 declarations and exhibits, and proposed order (Dkts. 15–17);
38
39           2. The Summons and Complaint in this action (Dkts. 1, 9);
40
41           3. The Court’s recent Order Regarding Initial Disclosures (Dkt. 11).
42
43
44   I emailed the foregoing documents to the following addresses:
45


     -1                                                               GORDON      600 University Street
     No. 2:20-cv-00738                                                 TILDEN     Suite 2915
                                                                      THOMAS      Seattle, WA 98101
                                                                     CORDELL      206.467.6477
               Case 2:20-cv-00738-TSZ Document 18 Filed 06/08/20 Page 2 of 4



 1    Defendant            Associated Email Addresses
 2    Anxchip.com              sales@anxchip.com
 3    (now Lowbr.com)          admin@anxchip.com
 4                             pw-eef7316e3dab65ef3bf48d017150bd81@privacyguardian.org
 5                             9f933c74bc1b4a9a96d1f81c89092007.protect@whoisguard.com
 6                             abuse@cloudflare.com
 7                             abuse@namesilo.com
 8                             abuse@namecheap.com
 9                             support@mail.whoisguard.com
10
11    Axiogame.com               info@axiogame.com
12                               service@wintopay.com
13                               1603813102@qq.com
14                               contact@privacyprotect.org
15                               abuse-contact@publicdomainregistry.com
16
17    Flashcarda.com             admin@falshcarda.com
18    (now Materpl.com)          e2083dfc01a340dcb9cbe4309c2963bc.protect@whoisguard.com
19                               9f933c74bc1b4a9a96d1f81c89092007.protect@whoisguard.com
20                               abuse@cloudflare.com
21                               abuse@namecheap.com
                                 support@mail.whoisguard.com
22
23
      Mod3dscards.com            admin@mod3dscard.com
24    (now Brujoon.com)          pierredupont838@yahoo.com
25
                                 yellanna@yahoo.com
26                               pw-9858d211ecf65d5b74c4d6d1d29acc7c@privacyguardian.org
27                               dabdd50dcc9c47c2976c659c23741615.protect@whoisguard.com
28                               abuse@cloudflare.com
29                               abuse@namesilo.com
30                               abuse@namecheap.com
31                               support@mail.whoisguard.com
32
33    Nx-card.com                admin@nx-card.com
34    (now Agresu.com)           ac5c980a6c414b0e91beecf59852d1aa.protect@whoisguard.com
35                               12508e0218f046f787f411e2a92c8ddc.protect@whoisguard.com
36                               abuse@cloudflare.com
37                               abuse@namecheap.com
38                               support@mail.whoisguard.com
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40    Sxflashcard.com            spielking@outlook.com
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42                               sxflashcard@vip.163.com
43                               sxflashcard@163.com
44                               sxflashcard.com@domainsbyproxy.com
45                               abuse@godaddy.com


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               Case 2:20-cv-00738-TSZ Document 18 Filed 06/08/20 Page 3 of 4



 1    Txswitch.com               noreply@notice.mailhz.com
 2                               teamxecutersx@163.com
 3                               txswitch.com@domainsbyproxy.com
 4                               abuse@godaddy.com
 5
 6    Usachipss.com              admin@usachipss.com
 7    (now Nerged.com)           pw-4a6563c6dcb030493c219c6c14125e65@privacyguardian.org
 8                               3dc9efc662604c7fa57e2936b15909ed.protect@whoisguard.com
 9                               abuse@cloudflare.com
10                               abuse@namesilo.com
11                               abuse@namecheap.com
12                               support@mail.whoisguard.com
13
14
15
16
17                                          __________/s/ Alison I. Stein___________
18                                                       Alison I. Stein
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     -3                                                      GORDON    600 University Street
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               Case 2:20-cv-00738-TSZ Document 18 Filed 06/08/20 Page 4 of 4



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 5           DATED this 8th day of June, 2020.
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 7                                         GORDON TILDEN THOMAS & CORDELL LLP
 8                                         Attorneys for Plaintiff
 9
10                                         By     /s/ Michael Rosenberger
11                                               Michael Rosenberger, WSBA #17730
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20                                         JENNER & BLOCK LLP
21                                         Attorneys for Plaintiff
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